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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                               CASE NO. 04-80857
       Plaintiff,                                              HON. LAWRENCE P. ZATKOFF

v.

JERMAINE HUBBERT,

       Defendant.

____________________________________/


                                     OPINION AND ORDER

               AT A SESSION of said Court, held in the United States Courthouse,
                  in the City of Detroit, State of Michigan, on August 23, 2005


                    PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                            UNITED STATES DISTRICT JUDGE


                                       I. INTRODUCTION

       This matter is before the Court on Defendant Jermaine Hubbert’s Motion to Suppress Oral

Statements and Motion for Discovery. Plaintiff has responded. In addition, the Court held an

evidentiary hearing on this matter on August 23, 2005. For the reasons set forth below, Defendant’s

Motion to Suppress Oral Statements and Motion for Discovery are DENIED.



                                           II. ANALYSIS

A. Motion to Suppress Oral Statements

       Defendant Jermaine Hubbert is charged with 11 counts, including conspiracy to possess

with intent to distribute, possession with intent to distribute, and distribution of controlled
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substances. Following his arrest, Hubbert was interrogated by police on December 7, 2003 at the

city of Redford’s police department. Hubbert made certain oral statements at this time. By the

present motion, Defendant argues that those oral statements should be suppressed because

Defendant alleges that he was not read his Miranda warnings at this time and did not waive his

rights. See Miranda v. Arizona, 384 U.S. 436 (1966).

       1. Evidentiary Hearing

       The Court conducted an evidentiary hearing on this matter on August 23, 2005. At the

hearing, ATF Special Agent Michael Yott testified that he interrogated Hubbert on December 7,

2003 at the Redford police department. Yott further testified that he read Hubbert his Miranda

warnings from a card and that Hubbert said that he understood each warning. Hubbert told Yott

that he was willing to talk. Yott then asked Hubbert some questions and Hubbert answered those

questions. Despite answering Yott’s questions, Hubbert declined to make a written statement

and did not sign a Miranda waiver form.

       At the hearing, Yott further testified that he did not coerce Hubbert, did not make any

promises to Hubbert, and that he made no offer of negotiation to Hubbert. Yott described

Hubbert’s demeanor during the interrogation as being “relaxed,” “open,” and “comfortable.”

       Greg Stopczynski of the City of Detroit Police Department was the next to testify.

Stopczynski was a task force agent with the ATF on December 7, 2003. Stopczynski testified

that he was present during Agent Yott’s interrogation of Hubbert at the Redford police

department and that Yott read Hubbert his Miranda warnings.

       Defendant Jermaine Hubbert was the last to testify. Hubbert contradicted the testimony

of Yott and Stopczynski and stated that Yott “didn’t advise him of his rights.” Hubbert also


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testified that he knew what it meant to waive his rights and that he did not waive his right to

remain silent or his rights to counsel. As to his education and level of comprehension, Hubbert

testified that he completed his G.E.D., but that he dropped out of school in sixth grade and did

not return to school after that.

        On cross-examination, Hubbert testified that he had never been given Miranda warnings.

Hubbert then modified this testimony after considering his three previous arrests. Hubbert

testified that he had not been given Miranda warnings after two of the arrests, but that he had

received Miranda warnings after his June 5, 2002 arrest.

        2. Findings of Fact

        As to the credibility of the witnesses, the Court was guided by the appearance and

conduct of the witnesses, by the manner in which they testified, and by the character of the

testimony given. The Court had an opportunity to view the witnesses’ reactions to questions,

their hand and eye movement, and their facial expressions. Additionally, the Court considered

the witnesses’ intelligence, motive, state of mind, demeanor, and manner while testifying. The

Court also considered each witnesses’ ability to observe the facts to which he or she testified and

whether the witness appeared to have an accurate recollection of the relevant circumstances.

        The Court accepts as true Agent Yott’s and Officer Stopczynski’s testimony that they

read Defendant his Miranda warnings. The Court also finds that Hubbert understood the

warnings, and that he freely waived his rights without any government coercion. The Court does

not accept Hubbert’s testimony as credible. Hubbert asserted that Agent Yott did not advise him

of his Miranda rights, but Hubbert also claimed that despite his three previous arrests, that he

had never been read his Miranda rights by the arresting officers. Hubbert later modified his


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testimony and stated that he was read his Miranda rights after one of the arrests. In addition,

based on Hubbert’s education level (a G.E.D.) and his prior encounters with law enforcement,

the Court finds that Hubbert’s waiver of his Miranda rights was done knowingly.

            Based on these factual findings, the Court concludes that Defendant’s Miranda rights

were not violated and that Defendant’s Motion to Suppress Oral Statements should be denied.

B. Motion for Discovery

            Defendant asserts that the government utilized at least one confidential informant,

referred to as “ATF-1,” in conducting the present investigation. In the affidavit in support of a

court-ordered wiretap, Special agent Joseph Secrete stated that ATF-1 has provided him

information on at least 20 occasions, enabling Secrete to purchase firearms and narcotics in an

undercover capacity. By the present Motion, Defendant seeks disclosure from the government

whether ATF-1 or any other confidential informant utilized in this case actively participated in or

was a percipient witness to the acts underlying the prosecution, pursuant to Roviaro v. U.S., 353

U.S. 53 (1957), so that Defendant can determine whether disclosure of the informant’s identity

would be helpful to the fair determination of the case.

            Disclosure of an informant’s identity is only permissible under Rovario if disclosure

would be both “relevant and helpful to the defense.” Defendant has offered no evidence to meet

this burden. Furthermore, the government has affirmatively stated that the informant was not

used directly in the events charged in the indictment and that the informant will likely not testify

at trial.

            The Court finds that disclosure of the informant’s identity is not “relevant and helpful to

the defense” and that Defendant’s Motion for Discovery should be denied.


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                                            III. CONCLUSION

         For the above reasons, the Court HEREBY DENIES Defendant’s Motion to Suppress Oral

Statements and Motion for Discovery.

         IT IS SO ORDERED.




                                                       s/Lawrence P. Zatkoff
Date:     August 23, 2005                              LAWRENCE P. ZATKOFF
                                                       UNITED STATES DISTRICT JUDGE




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